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                           UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON



UNITED STATES OF AMERICA                         CR 05-60008-02-HO

              v.

PIROUZ SEDAGHATY,                                MEMORANDUM IN SUPPORT OF
                                                 THE MOTION OF THE UNITED
                      Defendant.                 STATES TO COMPEL COMPLIANCE
                                                 WITH JULY 17, 2009, SUBPOENA
In re AL RAJHI BANK SUBPOENA                     ISSUED PURSUANT TO 31 U.S.C.
                                                 § 5318(k)
AL RAJHI BANKING &
INVESTMENT CORP,
Real party in interest

                      Respondent.
       The United States of America, by and through Kent S. Robinson, Acting United States

Attorney for the District of Oregon, by Assistant United States Attorneys Charles F. Gorder, Jr.,

Christopher L. Cardani and Ryan W. Bounds, files this motion to compel Al Rajhi Banking &

Investment Corporation (“the Bank”) to comply with a lawfully issued administrative subpoena

served on the Bank on July 27, 2009. The Bank does not challenge service of the subpoena through

its registered agent but refuses to comply and, citing various grounds, seeks to quash the subpoena

through an ancillary proceeding that the Bank initiated in the United States District Court for the

District of Columbia on January 19, 2010. For the reasons set forth below, this Court should order

the Bank to comply with the subpoena.

I.     Factual Overview

       Defendant Pirouz Sedaghaty awaits trial before this Court on charges of conspiring to

defraud the United States and filing a false return with the Internal Revenue Service (“IRS”) on

behalf of the Al-Haramain Islamic Foundation (“AHIF”).

       A.      The Charged Conduct

       AHIF, a non-governmental organization headquartered in Riyadh, Saudi Arabia, first

established a presence in the United States in 1997.1 In October 1997, AHIF designated Soliman

Hamd Al-But’he, through a power of attorney, as its lawful representative in the United States. At

approximately the same time, he and defendant Sedaghaty registered AHIF as an assumed business

name with the Oregon Secretary of State with a principal place of business in the United States in

Ashland, Oregon.


       1
               AHIF’s publicly stated purpose was to distribute Islamic aid and educational material,
but the Saudi government dissolved the organization in 2004.

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       Defendant Sedaghaty later established AHIF in 1999 as a corporation in the State of Oregon,

thus becoming the Al-Haramain Islamic Foundation, Inc.               The organization’s articles of

incorporation indicated that the corporation was organized as a public benefit corporation,

established exclusively for religious, humanitarian, educational, and charitable purposes.

       AHIF bank records and other documents show that an individual in Egypt donated

US$150,000 to Al-Haramain by means of an AHIF bank account in Oregon as “zakat” in order “to

participate in your nobel [sic] support to our muslim brothers in Chychnia.” In March 2000, Al-

But’he flew from Riyadh, Saudi Arabia, to Oregon, where he went with defendant Sedaghaty to an

Ashland, Oregon, branch of Bank of America and withdrew the US$150,000 in the form of 130

US$1,000 American Express traveler’s checks and one US$21,000 cashier’s check.

       Al-But’he then took all of those checks to Riyadh, Saudi Arabia, without disclosing that he

was departing the United States with the US$130,000 in traveler’s checks, in violation of 31 U.S.C.

§§ 5316(a)(1)(A), 5322. Al-But’he deposited the Bank of America cashier’s check at the Bank in

account number 140608010109206 and apparently cashed the traveler’s checks at the same time.

Defendant Sedaghaty later filed a return with the IRS, mischaracterizing Al-Haramain’s use of the

donated funds. Specifically, defendant Sedaghaty falsely reported on Al-Haramain’s 2000 return

that US$130,000 of the funds in question were used to purchase a mosque in Springfield, Missouri,

and that the remaining sum of US$21,000 was returned to the donor.

       Al-Haramain in both Saudi Arabia and Oregon strongly supported the cause of mujahideen

fighters in Chechnya in the years 1999 and 2000. The foregoing activities demonstrate that

defendant Sedaghaty conspired with Al-But’he to defraud the United States by covertly removing

the funds from the United States, failing to declare the funds, and filing a false 2000 return on behalf

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of Al- Haramain in order to hide the fact that the organization intended to distribute the funds to the

Chechen mujahideen in contravention of U.S. law.2

        A grand jury in the District of Oregon indicted defendant Sedaghaty, as well as Soliman

Hamd Al-But’he and AHIF, on February 17, 2005. Defendant Sedaghaty was arrested on

August 15, 2007. The trial date in this matter was initially set for April 16, 2008, but has been

continued several times and is now set for June 7, 2010.3

        B.     The Subpoena

        On July 17, 2009, the undersigned Acting United States Attorney for the District of Oregon,

Kent S. Robinson, served an administrative subpoena on the Bank, which maintains no offices in

the United States,4 pursuant to 31 U.S.C. § 5318(k)(3)(A)(I), which provides:

               The Secretary of the Treasury or the Attorney General may issue a
               summons or subpoena to any foreign bank that maintains a
               correspondent account in the United States and request records
               related to such correspondent account, including records maintained




        2
               In September 2004, the U.S. Treasury Department, Office of Foreign Assets Control,
designated the Oregon branch of the Al-Haramain Islamic Foundation and Al-But’he personally as
“Specially Designated Global Terrorists.” The United Nations has also issued a designation of Al-
Haramain.
        3
               The United States has since dismissed the charges against AHIF; Al-But’he is a
fugitive.
        4
              See February 1, 2010, Declaration of AUSA Christopher L. Cardani [hereinafter
“Cardani Decl.”], Ex. C (Memorandum of Points and Authorities in Support of Petitioner’s Motion
To Quash USA Patriot Act Subpoena [hereinafter “Resp’t’s Mem.”]) at 2-3.
       The Bank conducts operations in the United States through so-called “correspondent
accounts,” which permit a foreign financial institution to make and receive payments directly
through banks in the United States. See 31 U.S.C. § 5318A(e)(1)(B).

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               outside the United States relating to the deposit of funds into the
               foreign bank.5

The subpoena demanded the production of a variety of “[a]uthenticated copies of certified bank

records[] belonging to Soliman Al-But’he,” including “[r]ecords pertaining to the cashing of 130

$1,000 American Express Traveler’s checks by Soliman Al-But’he in March of 2000 at Al Rajhi

Bank” as well as “[r]ecords pertaining to the deposit and any subsequent disposition of a Bank of

America cashier’s check, check number 1001040568, issued to Soliman Al-But’he on March 11,

2000, for $21,000.” (Cardani Decl. Ex. B.)

       The Acting United States Attorney sought the records in part to establish in defendant

Sedaghaty’s trial the actual disposition of the US$150,000 that AHIF received from the Egyptian

donor after Al-But’he returned to Saudi Arabia. (Cardani Decl. ¶ 2; Resp’t’s Mem. at 19 (“[I]t is

obvious that the government seeks to use its administrative subpoena power to collect evidence for

trial.”).) The initial return date on the subpoena was thus set for August 28, 2009. In light of

ongoing negotiations with the Bank over the voluntary production of the documents at issue and the

continuance of the trial date in this matter, the U.S. Attorney’s Office agreed to defer the return date

until January 29, 2010. (Cardani Decl. ¶¶ 4, 6.)

       C.      The Bank’s Motion To Quash

       The Bank, however, failed to produce any responsive documents by the deferred return date.

Instead, the Bank initiated a new proceeding in the United States District Court for the District of


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               By Delegation Order Number 2860-2007, the Attorney General on January 18, 2007,
delegated “to the Assistant Attorney General [of the Criminal Division] and to the United States
Attorneys, subject to the approval of the Criminal Division pursuant to § 9-13.525 of the United
States Attorneys’ Manual, the authority . . . to issue” subpoenas under this provision. (Cardani Decl.
Ex. A.)

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Columbia on January 19, 2010, for the sole purpose of moving to quash the subpoena. (Cardani

Decl. ¶ 7; Resp’t’s Mem. at 9 (refusing to waive personal jurisdiction in the United States).)

Although the Bank conducts no operations in the District of Columbia and maintains no

correspondent relationships with any other bank chartered there, the Bank contends that its motion

to quash the subpoena is properly heard in the District of Columbia because the Attorney General

is named as a respondent in the Bank’s pleading. (Resp’t’s Mem. at 3 n.1, 10.)

II.    This Court Should Enforce the Subpoena Directed to the Bank.

       The United States seeks an order from this Court compelling the Bank’s compliance with

the subpoena, which was duly served on the Bank in furtherance of a criminal prosecution pending

before this Court. See, e.g., Vanguard Int’l Mfg. Corp. v. United States, 588 F. Supp. 1289,

(S.D.N.Y. 1984) (issuing order enforcing administrative subpoena for overseas bank records of

foreign corporation in connection with investigation of U.S. taxpayer); Garpeg Ltd. v. United States,

583 F. Supp. 789 (S.D.N.Y. 1984) (same).

       A.      The Subpoena Clearly Satisfies the Standard for Judicial Enforcement.

       The Supreme Court set forth the standard for judicial enforcement of administrative

subpoenas more than half a century ago in United States v. Morton Salt Co., 338 U.S. 632 (1950).

In that case, the Court affirmed the constitutional validity of administrative subpoenas and held that

a demand for documents by a government agency (there the Federal Trade Commission) is

presumptively lawful if “the inquiry is within the authority of the agency, the demand is not too

indefinite and the information sought is reasonably relevant.” Id. at 652. The Court has continued

to apply a deferential standard in reviewing administrative subpoenas and analogous investigative

tools since Morton Salt. See, e.g., United States v. Stuart, 489 U.S. 353, 360 (1989) (noting that the

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IRS is “entitled to an enforcement order” if it has demonstrated that the summons in question was

issued for a “legitimate purpose” and is “relevant to the purpose” and that the “administrative

steps required by the Code have been followed”).

        Accordingly, the Ninth Circuit has repeatedly emphasized that “[t]he scope of [its] inquiry

in an agency subpoena is narrow.” FDIC v. Garner, 126 F.3d 1138, 1142 (9th Cir. 1997) (quoting

NLRB v. North Bay Plumbing, Inc., 102 F.3d 1005, 1007 (9th Cir.1996)). A court must ask:

“(1) whether Congress has granted the authority to investigate; (2) whether procedural requirements

have been followed; and (3) whether the evidence is relevant and material to the investigation.”

EEOC v. Children’s Hosp. Med. Ctr. of N. Cal., 719 F.2d 1426, 1428 (9th Cir. 1983) (en banc). “If

the agency establishes these factors, the subpoena should be enforced unless the party being

investigated proves the inquiry is unreasonable because it is overbroad or unduly burdensome.” Id.

        The subpoena directed to the Bank easily satisfies the three criteria identified by the Supreme

Court in Morton Salt and since repeatedly echoed by the Ninth Circuit. There can be no question

that “Congress has granted the authority” to the Department of Justice and thereby to the Acting

United States Attorney for the District of Oregon “to investigate” suspected acts of fraud and

terrorism-related money-laundering. Id.; see 18 U.S.C. § 1956(a)(2) (establishing offense of

laundering of monetary instruments). Nor is there any claim that the undersigned Acting United

States Attorney failed to follow any “procedural requirements” in issuing the administrative

subpoena or that the documents sought are insufficiently “relevant and material” to the investigation

of the suspected offenses. Id. Indeed, the Bank faults the subpoena for being too “relevant and

material,” id., protesting that it is “carefully tailored to obtain evidence to prove facts alleged in the

indictment” of defendant Sedaghaty. (Resp’t’s Mem. at 20.)

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       In sum, because the subpoena “is within the authority of the [Department of Justice], the

demand is not too indefinite and the information sought is reasonably relevant,” Morton Salt, 338

U.S. at 652, this Court should order the Bank to comply with the subpoena.

       B.      This Court Is in the Best Position To Assess the Validity of the Subpoena.

       Two threshold considerations militate strongly for this Court’s assessing the validity of the

subpoena in the first instance rather than deferring to the outcome of the ancillary proceeding

initiated by the Bank in the District of Columbia.

       First, the subpoena was issued by the Acting United States Attorney for this District in

furtherance of an investigation into criminal conduct that occurred within this District. That conduct

included most conspicuously the conspirators’ suspicious withdrawal of the $150,000 donation at

issue in readily negotiable monetary instruments and the filing of a fraudulent return for AHIF —

an Oregon corporation — with the Internal Revenue Service.

       Second, the Oregon-based investigation has been the source of extensive litigation before

this Court. The litigation has involved extensive motions relating to the pending trial of defendant

Sedaghaty, numerous discovery motions, and a number of motions filed under seal pursuant to the

Classified Information Procedures Act (“CIPA”).6 (Cardani Decl. ¶ 8.) This Court’s familiarity

with the full scope of this litigation is particularly relevant in light of the Bank’s suggestion that

serving the subpoena on the Bank was an effort to sidestep any adverse ruling that this Court might




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             Numerous motions are currently pending before this Court, including Defendant’s
Motions To Suppress and To Compel Issuance of Letters Rogatory To Obtain Evidence in the
Kingdom of Saudi Arabia. (Cardani Decl. ¶ 8.)

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issue on defendant Sedaghaty’s suppression motion. (Resp’t’s Mem. at 7 (“As mentioned above, the

Subpoena was issued four days after the suppression hearing . . . .”).)

       In sum, this Court is uniquely familiar with the procedural context of the subpoena and the

relevance of the documents that the government seeks thereby. These considerations make this

Court the most logical forum for reviewing — and enforcing — the subpoena. Cf. NLRB v. Cooper

Tire & Rubber Co., 438 F.3d 1198, 1200-01 (D.C. Cir. 2006) (noting that numerous statutes

conferring administrative subpoena authority on federal agencies specify that applications to enforce

such subpoenas shall be made “within the jurisdiction [in] which the inquiry is carried on” and

holding that courts look to, inter alia, “the place where the subpoenas were issued[ and] the place

where the [agency] determined that unlawful actions had occurred”).

       The Bank, in contrast, can point to no basis for initiating its ancillary proceeding in the

District of Columbia, other than the Bank’s improvidently naming the Attorney General and

Secretary of the Treasury as “defendants.” (Resp’t’s Mem. at 9-10.) Such artifice should not deter

this Court from properly passing on the validity of the subpoena. Cf. Rumsfeld v. Padilla, 542 U.S.

426, 447 (2004) (holding that the District Court for the Southern District of New York did not have

jurisdiction over a habeas petition filed by petitioner in military custody in South Carolina, despite

petitioner’s naming Secretary of Defense — over whom the district court did have jurisdiction —

because the habeas statute requires naming the custodian with “day-to-day control” over the

petitioner in order to serve “the important purpose of preventing forum shopping”). This is




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particularly true where, as here, the parties explicitly agree that the issues raised are intrinsically and

inextricably intertwined with the ongoing criminal proceedings before this Court.7

III.    The Bank’s Arguments Against the Enforceability of the Subpoena Are Groundless.

        The Bank contends that the subpoena is invalid on three grounds. The Bank claims first that

the statute authorizing the issuance of the subpoena is unconstitutional, because it “allows the

government to circumvent judicial review of the enforceability of a subpoena.” (Resp’t’s Mem. at

14-17.) The Bank argues next that the subpoena is defective even by the terms of the authorizing

statute, because it is broader in scope than the statute itself permits and demands documents for an

“improper purpose,” to wit, their introduction as evidence in a criminal trial. (Resp’t’s Mem. at 17-

20.) Finally, the Bank insists that the subpoena impermissibly demands that the Bank violate Saudi

law. (Resp’t’s Mem. at 20-24.) These contentions are meritless.

        A.      The Statute Does Not Unconstitutionally Circumvent Judicial Review of
                Subpoenas.

        The Acting United States Attorney for the District of Oregon issued the subpoena pursuant

to the statutory authority conferred by § 5318(k), which authorizes the issuance of a “subpoena to

any foreign bank that maintains a correspondent account in the United States” for “records related


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                 That the Bank’s ancillary proceeding raises the same issues is of no moment, as the
District Court for the District of Columbia may dismiss the Bank’s action for affirmative relief on
the ground that the Bank will have a full opportunity to air its objections to the subpoena before this
Court on the instant motion to compel. See, e.g., Reisman v. Caplin, 375 U.S. 440, 450 (1964)
(affirming district court dismissal of separate suit for relief from IRS subpoenas on the ground that
plaintiff-petitioners could air their objections by intervening before the IRS commissioner or in
district court on Commissioner’s motion to enforce the subpoenas).
         The United States expects to file a motion in the district court in the ancillary proceeding in
the District of Columbia, requesting that the court there dismiss the ancillary proceeding or abstain
from ruling on the Bank’s Motion To Quash pending this Court’s review of the subpoena in the
context of this enforcement proceeding.

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to such correspondent account, including records maintained outside the United States relating to

the deposit of funds into the foreign bank.” 31 U.S.C. § 5318(k)(3)(A)(i). The authority to demand

foreign bank records by administrative subpoena was one of many new or expanded tools that

Congress gave the Executive Branch to investigate and to disrupt transnational money laundering

networks in the International Money Laundering Abatement and Anti-Terrorist Financing Act of

2001, which Congress enacted as Title III of the USA PATRIOT Act of 2001, Pub. L. 107-56, 115

Stat. 272 (2001). In passing the law, Congress specifically found that “money laundering . . . [is]

critical to the financing of global terrorism and the provision of funds for terrorist attacks.” Id.

§ 302(a)(2), 115 Stat. at 296.

       In addition to authorizing the service of administrative subpoenas on foreign banks,

§ 5318(k) requires banks and other “covered financial institutions” in the United States to “terminate

any correspondent relationship with a foreign bank not later than 10 business days after receipt of

written notice . . . that the foreign bank has failed” either “to comply with a . . . subpoena” issued

under this provision or “to initiate proceedings in a United States court contesting such . . .

subpoena.” 31 U.S.C. § 5318(k)(3)(C)(i). Failure to terminate a correspondent relationship pursuant

to this provision would subject a “covered financial institution” in the United States to “a civil

penalty of up to $10,000 per day.” 31 U.S.C. § 5318(k)(3)(C)(ii).

       In arguing that § 5318(k) is unconstitutional, the Bank protests that the potential liability of

banks in the United States for this civil penalty “impermissibly allows the government to circumvent

judicial review of the enforceability of a subpoena and decide the issue itself.” (Resp’t’s Mem. at

15.) This is so, the Bank suggests, because recipients of these subpoenas would be forced either to

comply with them or to suffer “the termination of [their] correspondent accounts in the United

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States.” (Resp’t’s Mem. at 16.) The Bank maintains that the statute thus violates a “constitutional

requirement that a judicial determination of a subpoena’s reasonableness be made prior to the

imposition of any penalty for noncompliance.” (Id.) This argument is factually and legally

untenable.

               1.      The Statute Plainly Contemplates Judicial Review Before
                       Any Penalty May Be Imposed.

       Although this is an issue of first impression, it is self-evident that the government must act

through the courts — as with the instant motion to compel — in pursuing penalties against a foreign

bank for failing to comply with an administrative subpoena issued under § 5318(k), because the

statute does not authorize the government to take any direct action against the foreign bank

whatsoever. The only fine that § 5318(k) authorizes is one against “covered financial institutions”

in the United States.8 The Bank focuses, therefore, on the prospect that such institutions might

terminate their correspondent relationships with the noncompliant foreign bank at the government’s

behest. The Bank then claims that the power to compel this deleterious result is unconstitutionally

conferred on the Executive Branch, where it may be exercised without judicial oversight. Contrary

to the Bank’s claim, however, the government cannot avoid judicial review of an administrative

subpoena by forcing the termination of correspondent relationships under § 5318(k).




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               As a result, the Bank’s protest that § 5318(k) violates the principle that government
agencies must not “be invested with authority to compel obedience to [their] orders by a judgment
of a fine or imprisonment” (Resp’t’s Mem. at 17 (quoting ICC v. Brimson, 154 U.S. 447, 486
(1894))) is wholly misplaced.

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       In at least two ways, subsection 5318(k) provides for courts to review the propriety of an

administrative subpoena issued thereunder before the government may compel the termination of

correspondent relationships with the recipient foreign bank. First, the statute expressly provides that

the foreign bank may “initiate proceedings in a United States court” to contest the subpoena. 31

U.S.C. § 5318(k)(3)(C)(i)(II). Initiation of such proceedings forestalls any duty under that

paragraph for U.S.-based “covered financial institutions” to terminate correspondent relationships

with the foreign bank and permits the appropriate court to review the propriety of the subpoena at

issue. At least until the court disposes of the challenge in the government’s favor, there is simply

no authority under § 5318(k) to seek the termination of the foreign bank’s correspondent

relationships in the United States or to take any other action against the foreign bank. See 31 U.S.C.

§ 5318(k)(3)(C)(i).9

       Second, even where the foreign bank forgoes an affirmative challenge to the subpoena, the

government must, as a practical matter, rely on judicial process to compel the termination of the

bank’s correspondent relationships with U.S.-based “covered financial institutions.” To the extent

that those institutions do not terminate their correspondent relationships with the foreign bank on

their own volition, the government’s only coercive authority under § 5318(k) is the exaction of the

“civil penalty of up to $10,000 per day” under 31 U.S.C. § 5318(k)(3)(C)(ii). Recovery of that

penalty would, as a practical matter, require a judicial proceeding. In opposing the government’s

collection efforts, a U.S.-based institution would have both the incentive and the opportunity to



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               The Bank enjoys the reprieve provided under this provision without regard to whether
the specific court to which the Bank applies is the court that decides the enforceability of the
subpoena in the first instance.

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challenge the administrative subpoena giving rise to its duty to terminate the correspondent

relationship in question. Such a defense would permit the court to pass on the propriety of the

administrative subpoena before the government could “enforce” it even through this indirect

measure.

                2.      Foreign Banks Have No Constitutionally Protected Interest in
                        Their Correspondent Relationships with U.S. Banks or in the
                        Privacy of & Their Overseas Records.


         Even if the Bank were correct that § 5318(k) permitted the government to compel the

termination of a foreign bank’s correspondent relationships without judicial review of the

administrative subpoena in question, enactment of such an enforcement mechanism would be well

within Congress’s expansive power “to regulate Commerce with foreign Nations.” U.S. Const. Art.

I § 8.

         As the Bank acknowledges, its contention that administrative subpoenas must be enforceable

only through the courts is “grounded in the Fourth Amendment’s guarantee against ‘unreasonable

searches and seizures.’” (Resp’t’s Mem. at 14.) Administrative subpoenas issued under § 5318(k),

however, may be directed only to a foreign entity — specifically “a foreign bank that maintains a

correspondent account in the United States.” 31 U.S.C. § 5318(k)(3)(A). Because these subpoenas

relate to regulation of foreign commerce, Congress’s power to direct the means of their enforcement

is at its apex, and, because the records at issue are under the control of a foreign entity outside of the

United States, the broad Fourth Amendment protections interposed by the Bank are without

precedent or support.




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       It is well and long established that “[t]he power to regulate commerce with foreign nations

is expressly conferred upon Congress, and, being an enumerated power, is complete in itself . . . .”

Buttfield v. Stranahan, 192 U.S. 470, 493 (1904). As a result, “no individual has a vested right to

trade with foreign nations which is so broad in character as to limit and restrict the power of

Congress to determine what articles of merchandise may be imported into this country and the terms

upon which a right to import may be exercised.” Id. at 494 (emphasis added). The Supreme Court

has thus repeatedly held that Congress may authorize the Executive Branch to enforce laws

restricting foreign commerce by administrative action alone. See, e.g., Oceanic Steam Navigation

Co. v. Stranahan, 214 U.S. 320, 329, 336-40 (1908) (rejecting challenge to customs agents’

extrajudicial exaction of monetary fines by withholding clearance for steamships seeking to depart

for foreign ports); accord Lloyd Sabaudo Societa Anonima Per Azioni v. Elting, 287 U.S. 329, 335

(1932) (reaffirming Oceanic Steam but acknowledging that “the action of the Secretary is . . . subject

to some judicial review”). The Bank cites no authority for the proposition that Congress lacks the

analogous power both to dictate the terms by which “correspondent relationships” with “foreign

banks” may be conducted and to determine the means by which those terms will be enforced. The

government is aware of none.

       Moreover, it is clear that the Fourth Amendment imposes no constraint whatever on the

scope of the searches and seizures that Congress may authorize with respect to foreign persons on

foreign soil. See United States v. Verdugo-Urquidez, 494 U.S. 259, 274-75 (1990) (holding that the

“Fourth Amendment has no application” to search of residences belonging to Mexican national on

Mexican soil). As a result, to the extent that courts have suggested that administrative subpoenas

may not be self-enforcing without impermissibly exposing their recipients to “constructive searches”

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in contravention of the Fourth Amendment’s warrant requirement (Resp’t’s Mem. at 14 (citing

United States v. Sturm, Ruger & Co., 84 F.3d 1 (1st Cir. 1996))), those cases simply have no bearing

on the constitutionality of § 5318(k).

       As the Supreme Court made clear in Morton Salt, the constitutional restraints on the scope

of administrative subpoenas directed even to U.S. citizens on U.S. soil are modest: “It is sufficient

if the inquiry is within the authority of the agency, the demand is not too indefinite and the

information sought is reasonably relevant.” 338 U.S. at 369. This remains true today. See, e.g.,

EEOC v. Karuk Tribe Housing Auth., 260 F.3d 1071, 1076 (9th Cir. 2001) (“[C]ourts must enforce

administrative subpoenas unless the evidence sought . . . is plainly incompetent or irrelevant to any

lawful purpose of the agency.” (internal quotation marks and brackets omitted)); RTC v. Grant

Thornton, 41 F.3d 1539, 1548 (D.C. Cir. 1994) (“[T]he Fourth Amendment generally presents little

obstacle to the enforcement of administrative subpoenas.” (citing Oklahoma Press Pub. Co. v.

Walling, 327 U.S. 186, 208 (1946))). However modest those constitutional limits may be, they are

slighter still with respect to foreign banks on foreign soil. As a result, the Bank’s contention that

§ 5318(k) is unconstitutional simply because administrative subpoenas issued thereunder are

effectively compulsory is wholly unpersuasive.

       B.      The Subpoena Is Plainly Authorized by the Statute.

       The Bank also claims that the subpoena is defective even by the terms of § 5318(k) itself,

but the Bank is incorrect. The Bank alleges two infirmities: first, that the subpoena fails to make

clear how the documents at issue relate to the Bank’s correspondent accounts in the United States,

and, second, that the subpoena seeks those documents for trial as opposed to pure investigation.

Neither of these facts is inconsistent with the terms and purpose of § 5318(k).

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               1.      The Scope of the Demand Is Well Within the Limits of the
                       Authorizing Statute.

       The Bank’s principal contention is that the subpoena fails to limit its scope to “records

related to [a] correspondent account,” as required by the statute, because the subpoena “makes no

reference to any of the Bank’s correspondent accounts.” (Resp’t’s Mem. at 17-18.) This objection

amounts to little more than a stylistic quibble. The United States does not purport to seek documents

unrelated to the Bank’s correspondent accounts in the United States, and the Bank does not

meaningfully assert otherwise.

       In the subpoena, the government sought:

       Account records for account number 140608010109206 for the time period of
       February, March, and April of 2000, to include:

       (1) Copies of signature cards and customer applications;

       (2) Copies of bank statements, ledger cards, or records reflecting dates and amounts
       of deposits and withdrawals;

       (3) Copies of debit and credit memos;

       (4) Copies of deposit slips and checks deposited (including the backs of the checks);

       (5) Copies of withdrawal slips and teller records showing the withdrawal of
       currency, including records reflecting the type of currency received (U.S. dollars or
       Saudi Riyals);

       (6) Copies of checks issued for withdrawals (including the backs of the checks);

       (7) Copies of all records reflecting the cashing of traveler’s checks, including teller
       records, receipts indicating the number of cashier’s checks cashed, the
       denominations of the cashier’s checks cashed, and the type of currency received
       (U.S. dollars or Saudi Riyals);

       (8) Records reflecting the customer exchange rate of U.S. dollars to Saudi Riyals on
       March 13, 2000, March 14, 2000, March 27, 2000, and March 28, 2000;


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       (9) Records pertaining to the cashing of 130 US$1,000 American Express Traveler’s
       checks by Soliman Al-But’he in March of 2000 at Al Rajhi Bank, to include the date
       and time of the transaction, the amount of the transaction, and type of currency
       received by Al-But’he (U.S. dollars or Saudi Riyals); and

       (10) Records pertaining to the deposit and any subsequent disposition of a Bank of
       America cashier’s check, check number 1001040568, issued to Soliman Al-But’he
       on March 11, 2000, for US$21,000.

(Cardani Decl. Ex. B.) The list of responsive documents makes clear that the government seeks

records directly relating to Soliman Al-But’he’s negotiation of the financial instruments at the center

of this very investigation — specifically the expressly identified cashier’s check and 130 traveler’s

checks — by and through the Bank. Although the requests for Al-But’he’s account records were

not explicitly limited to the negotiation of those specific financial instruments, the three-month time

frame of February 2000 to April 2000 effectively narrowed the responsive records to those that were

“reasonably relevant,” Morton Salt, 338 U.S. at 369, to tracing the disposition of the funds at issue.

       Moreover, because the financial instruments in question were issued in U.S. dollars by U.S.

banks, the negotiation of those instruments inevitably “related to” the Bank’s “correspondent

account[s] in the United States.” 31 U.S.C. § 5318(k)(3)(A)(i). The Bank neither suggests

otherwise, nor could it plausibly do so:

       On March 14, 2000, Al-But'he went to an Al-Rajhi Banking and Investment Corp
       (Al-Rajhi Bank) branch in Saudi Arabia and appears to have cashed the AMEX
       traveler’s checks for currency. For reimbursement, bank records show Al-Rajhi
       Bank sent the AMEX traveler’s checks to one of its US correspondent banks, Chase
       Manhattan (now JP Morgan Chase) in the US.

       Al-But'he appears to have deposited the $21,000 BOA cashier’s check into an
       account at Al-Rajhi, most likely at the same time he cashed the traveler’s checks.
       The account number is 140608010109206 and appears to be a personal account for
       Soliman Al-But'he. Bank records show that Al-Rajhi Bank processed for payment
       the cashier's check through another US correspondent bank, US Bank. In turn, bank


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           records show US Bank requested payment of the $21,000 from BOA on March 30,
           2000.

(January 28, 2010, Declaration of Colleen Anderson ¶¶ 5-6.) Although the subpoena did not

expressly recite the relationship between the request and the Bank’s correspondent accounts in the

United States, nothing in the § 5318(k) or any authority cited by the Bank requires such an explicit

recital.

           In any event, the relationship between the documents identified by the subpoena and the

Bank’s correspondent accounts in the United States must have been plain to the Bank, which

actually negotiated the financial instruments expressly referenced in the subpoena through those

correspondent accounts. The Bank’s protest that “[t]here is nothing in the subpoena on which the

court could base a finding that the requested records relate, in any way, to the Bank’s correspondent

accounts,” (Resp’t’s Mem. at 17), is simply irrelevant to the statutory propriety of the subpoena.

The Court had no occasion to assess the scope of the subpoena until the Bank resolved to resist it.

           Because the subpoena seeks documents that are clearly within the scope of the statute, the

Bank’s argument must fail. As the Ninth Circuit has previously observed, “[t]he scope of [the

court’s] inquiry in an agency subpoena is narrow.” Garner, 126 F.3d at 1142. This Court should

decline the Bank’s invitation to extend that inquiry into purely editorial questions of how a subpoena

might have been differently drafted.

                  2.      The Subpoena Was Issued for a Proper Purpose.

           The Bank also asserts that the subpoena was invalid because § 5318(k) does not authorize

the issuance of subpoenas “to gather evidence for trial.” (Resp’t’s Mem. at 18.) The Bank cites




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nothing in § 5318(k) or any other relevant authority to support this contention, however, and it

cannot be seriously entertained in light of Congress’s express purpose in enacting the statute.

       The Bank cites only two cases in support of its categorical assertion that an administrative

subpoena may not be used to gather evidence for trial, and neither of them is relevant to the scope

of § 5318(k). Indeed, both stand for the opposite proposition: The government’s authority to

demand documents to gather evidence for trial depends only upon Congress’s intent to confer it.

The first case the Bank cites is the D.C. Circuit’s decision in RTC v. Grant Thornton, 41 F.3d 1539

(D.C. Cir. 1994). (Resp’t’s Mem. at 18.) In that case, the court considered whether, pursuant to the

Financial Institutions Reform, Recovery, and Enforcement Act of 1989 (“FIRREA”), the RTC had

“statutory authority to subpoena financial documents solely to ascertain the cost-effectiveness of

pursuing litigation” even after the RTC had filed suit. Grant Thornton, 41 F.3d at 1542. The court

held in the negative, rejecting the RTC’s claim that its statutory authority to issue subpoenas in

“furtherance of any . . . duty under the statute,” including that of “mak[ing] efficient use of funds

obtained from the . . . Treasury” could be interpreted to confer such a novel authority. See 41 F.3d

at 1546. The court held that it was “unreasonable to construe this general language to confer such

an unprecedented power.” Id. As this holding makes clear, Grant Thornton related to the proper

interpretation of FIRREA — not to the Justice Department’s authority under § 5318(k).

       The Bank correctly points out that the Grant Thornton court adverted to the powers of the

grand jury to exemplify “the traditional scope of investigative authority” while discussing the

context of FIRREA’s broad statutory language. Grant Thornton, 41 F.3d at 1547. The court went

on for the same purpose, however, to discuss the “well-established limits on a litigant’s ability to

discover an adversary’s financial and insurance information.” Id. The latter discussion would have

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been wholly irrelevant if, without regard to the language and purpose of the relevant statute, an

administrative subpoena could never exceed the “traditional scope of investigative authority,” as the

Bank suggests. Indeed, the court made plain that it offered no such sweeping holding by

emphasizing that it was concerned only with “what motives may be imputed to the Congress that

enacted the FIRREA.” Grant Thornton, 41 F.3d at 1548.

       The Bank also cites the Third Circuit’s decision in In re Grand Jury Proceedings (Schofield),

486 F.2d 85, 91 (3d Cir. 1973), for the proposition that, “[i]f the court concludes that an

administrative subpoena has been issued for the purposes of developing a criminal case, it will

decline enforcement.” (Resp’t’s Mem. at 19.) That dictum, however, rests solely on cases

addressing the enforceability of administrative subpoenas in tax cases, where judicial gloss on the

subpoena authority under the Internal Revenue Code and its explicit statutory bar on the use of such

subpoenas to advance cases already referred for criminal prosecutions rightly control. See 486 F.2d

at 91 (citing Donaldson v. United States, 400 U.S. 517 (1971) (“We hold that under [26 U.S.C.]

§ 7602 an internal revenue summons may be issued in aid of an investigation if it is issued in good

faith and prior to a recommendation for criminal prosecution.”); 26 U.S.C. § 7602(d) (“No summons

may be issued under this title . . . with respect to any person if a Justice Department referral is in

effect with respect to such person.” (emphases added)).

       Needless to say, neither § 5318(k) nor any other administrative subpoena authority conferred

on the Justice Department incorporates such a bar. To the contrary, numerous courts have expressly

rejected the claim – heedlessly echoed by the Bank here – that the Justice Department may issue

administrative subpoenas on third parties only before an indictment issues. See, e.g., United States

v. Phibbs, 999 F.2d 1053, 1077 (6th Cir. 1993) (“However, unlike the grand jury system, [the DEA’s

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administrative subpoena authority] may also be used to discover evidence related to the charges in

the original indictment.” (emphasis added)); United States v. Harrington, 761 F.2d 1482, 1485 (11th

Cir. 1985) (affirming administrative subpoenas issued to third parties by the DEA “between the

indictment and the trial in this case”); United States v. Lazar, 2006 WL 3761803, at *8-*9 (W.D.

Tenn. Dec. 20, 2006) (unpublished) (upholding the Justice Department’s use of administrative

subpoenas for healthcare fraud investigations under 18 U.S.C. § 3486 “to obtain evidence related

to charges in a pending indictment”); United States v. Wachter, 2006 WL 2460790, at *6-*7 (E.D.

Mo. Aug. 23, 2006) (unpublished) (affirming issuance of healthcare subpoenas under § 3486 post-

indictment); United States v. Daniels, 2000 WL 764951, at *4-*5 (D. Kan.) (unpublished) (same).

        What is true of the Justice Department’s administrative subpoena authority in the context of

investigations for controlled substances violations and healthcare fraud is only more obviously true

in the context of § 5318(k): the government’s efforts to combat international money laundering and

global terrorism. Indeed, Congress could not have been more explicit in its intent to confer

expansive authority on the Departments of the Treasury and Justice to combat particularly grave

offenses that had historically defied reliance on standard judicial process and traditional law

enforcement mechanisms. See International Money Laundering Abatement and Antiterrorist

Financing Act of 2001, Pub. L. 107-56 § 302, 115 Stat. 296 (finding that “transactions involving . . .

offshore jurisdictions [offering facilities to provide anonymity] make it difficult for law enforcement

officials and regulators to follow the trail of money earned by criminals, organized international

criminal enterprises, and global terrorist organizations”); id. at 297 (finding that “United States anti-

money laundering efforts are impeded by outmoded and inadequate statutory provisions that make

investigations, prosecutions, and forfeitures more difficult, particularly in cases in which money

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laundering involves foreign persons, foreign banks, or foreign countries” (emphasis added)). In

short, given Congress’s express intent to the contrary and the total absence of any relevant

supporting authority, the Bank’s assertion that the government may not use administrative subpoenas

to “gather evidence for trial” is entirely meritless.

                3.      The Government’s Demand for Documents Relating to the
                        Fraudulent Concealment of Funds by a Designated Terrorist
                        Organization Cannot Be Nullified by a Foreign Government’s
                        Privacy Laws.

        Finally, the Bank asserts that the subpoena is unenforceable because it would require the

Bank to defy the direction of its Saudi regulator and because “[v]arious provisions of Saudi law”

allegedly “prohibit the Bank from providing the information requested in the Subpoena.” (Resp’t’s

Mem. at 20-22.) This argument is unfounded.

        “When the laws of two jurisdictions conflict, the court must balance the interests, including

the respective interests of the states involved and the hardship that would be imposed upon the

person or entity subject to compliance.” In re Grand Jury Subpoena Dated Aug. 9, 2000, 218 F.

Supp. 2d 544, 554 (S.D.N.Y. 2002) (citing Restatement Third of Foreign Relations Law of the

United States § 442(1)(c)). In weighing these interests, “[c]ourts consistently hold that the United

States interest in law enforcement outweighs the interests of the foreign states in bank secrecy and

the hardships imposed on the entity subject to compliance.” Id.; see also, e.g., United States v. Bank

of Nova Scotia (In re Grand Jury Proceedings) [hereinafter Bank of Nova Scotia II], 740 F.2d 817,

827-29 (11th Cir. 1984); United States v. Bank of Nova Scotia (In re Grand Jury Proceedings), 691

F.2d 1384, 1389-91 (11th Cir. 1982); United States v. Field (In re Grand Jury Proceedings), 532

F.2d 404, 407-10 (5th Cir. 1976); United States v. First Nat'l City Bank (In re Grand Jury


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Subpoena), 396 F.2d 897, 902-05 (2d Cir. 1968); S.E.C. v. Bana Dela Svizzera Italiana, 92 F.R.D.

111 (S.D.N.Y. 1981) (enforcement of federal securities laws overrides Swiss bank secrecy laws).

       The Eleventh Circuit squarely addressed and rejected the very argument that the Bank raises

here in Bank of Nova Scotia II. In that case, prosecutors served a grand jury subpoena in connection

with a drug trafficking case on the Miami Branch of a foreign bank, seeking records located in the

Cayman Islands. The bank disregarded the subpoena, claiming that compliance would require it to

violate Cayman bank secrecy laws. 740 F.2d at 826. The court found, however, that the U.S.

Government’s interest in detecting and prosecuting criminal activity outweighed the Cayman

Island’s interest in preserving bank secrecy and holding that the bank secrecy laws “should not be

used as a blanket device to encourage or foster criminal activities.” Id. at 827. Importantly, the

bank argued, just as Al Rajhi does here, that the U.S. court should defer to the application of the

foreign law on the grounds that the bank should not be put in the position of having to choose

between conflicting commands of foreign sovereigns. Id. at 828. Relying on the Fifth Circuit’s

decision in Field, 532 F.2d at 410, the Court held that it “simply c[ould] not acquiesce in the

proposition that United States criminal investigations must be thwarted whenever there is a conflict

with the interest of other states.” Id.; see also Field, 532 F.2d at 410 (“In a world where commercial

transactions are international in scope, conflicts are inevitable.”).

       Similarly, in In re Grand Jury 81-2, 550 F. Supp. 24 (W.D. Mich. 1982), the district court

rejected a German bank’s defiance of a grand jury subpoena on the ground that production of the

records sought was prohibited by German law and would expose the bank and its officers to the risk

of criminal and civil penalties. The bank sought customers’ consent to disclosure, but several of the

customers refused, including one German company that obtained an ex parte order from a German

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court prohibiting the bank from complying with the subpoenas. The district court found that “the

United States’ interest in enforcing its criminal laws outweighs any countervailing interests or

hardships asserted by the bank,” 550 F. Supp. at 29, and thus rejected the bank’s contention that the

government should be constrained to use letters rogatory to obtain the documents at issue. Id. (“The

United States has chosen subpoenas as the preferred method of obtaining the records. . . . [T]hat

method is both lawful and proper.”); cf. Societe Nationale Industrielle Aerospatiale v. U.S. Dist.

Court for the S. Dist. of Iowa, 482 U.S. 522 (1987) (rejecting claim that Hague Convention on the

Taking of Evidence Abroad in Civil or Commercial Matters preempted means otherwise established

under the Federal Rules of Civil Procedure to demand evidence located within the jurisdiction of

another state-party to the Convention).

       Against this authority, the Bank cites one unsigned 1987 case for the sweeping proposition

that the conflict with Saudi law should render the subpoena unenforceable. (Resp’t’s Mem. at 20-22

(citing In re Sealed Case [hereinafter Sealed Case], 825 F.2d 494 (D.C. Cir. 1987) (per curiam).)

Even that case, however, is of highly dubious relevance. Not only was Sealed Case decided some

fourteen years before the enactment of § 5318(k), but the D.C. Circuit did not even purport in that

case to pronounce so generalized a theory as that on which the Bank relies.

       At issue in Sealed Case was a district court’s contempt order levying fines of $50,000 per

day on a foreign bank specifically to enforce a requirement that the bank violate the criminal laws

of a foreign jurisdiction. See Sealed Case, 825 F.2d at 496. The D.C. Circuit vacated the contempt

order, emphasizing that it was primarily concerned that the “sanctions represent[ed] an attempt by

an American court to compel a foreign person to violate the laws of a different foreign sovereign on

that sovereign’s own territory” where that person was “not merely a private foreign entity, but . . .

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an entity owned by the government” of yet another sovereign government. 825 F.2d at 498

(emphasis added). Needless to say, the same facts are not in play in the enforcement of the subpoena

here, as the Bank is “merely a private foreign entity.” (Resp’t’s Mem. at 2 (“A substantial portion

of the Bank’s stock is owned by the Al Rajhi family”).) Moreover, the D.C. Circuit in Sealed Case

explicitly disavowed any intention to establish a generally applicable rule, emphasizing that there

was a division of authority on the question and that the court did “not . . . decide the general issue

of whether a court may ever order action in violation of foreign laws.” Id.

        Even if Sealed Case were binding authority in this circuit and could be read to establish a

general rule for grand jury subpoenas, that case would have no bearing on the force of the § 5318(k)

subpoena at issue here for at least three reasons. First, both the Kingdom of Saudi Arabia and the

United States are parties to the International Convention for the Suppression of the Financing of

Terrorism, which obligates parties to “afford one another the greatest measure of assistance[,] . . .

including assistance in obtaining evidence in their possession,” in furtherance of investigations into

offenses involving terrorist financing. See International Convention for Suppression of the

Financing of Terrorism, G.A. Res. 109, Art. XII, § 1, U.N. GAOR, 54th Sess., U.N. Doc.

A/RES/54/109 (Dec. 9, 1999).10 The Convention specifically bars parties from “refus[ing] a request

for mutual legal assistance on the ground of bank secrecy.” See id. Art. XII, § 2. That the Saudi


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                  The Convention defines such offenses to include the “provi[sion] or collect[ion of]
funds with the intention that they should be used . . . in order to carry out . . . act[s] intended to cause
death or serious bodily injury to a civilian, or to any other person not taking an active part in the
hostilities in a situation of armed conflict, when the purpose of such act, by its nature or context, is
to intimidate a population, or to compel a government or an international organization to do or to
abstain from doing any act.” International Convention for Suppression of the Financing of
Terrorism, G.A. Res. 109, Art. II, § 1, U.N. GAOR, 54th Sess., U.N. Doc. A/RES/54/109 (Dec. 9,
1999). The defendants in this case were suspected of precisely such conduct.

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government has explicitly adopted, through the Convention, a public policy in favor of disclosure

must alleviate any prudential concern arising from the alleged incompatibility between Saudi

banking laws and the enforcement of the valid subpoena here.

        Second, Congress enacted § 5318(k) in the wake of the 2001 terrorist attacks specifically to

overcome the impediments posed by the laws of “jurisdictions outside of the United States that offer

‘offshore’ banking and related facilities designed to provide anonymity,” Pub. L. 107-56,

§ 302(a)(4), 115 Stat. at 296, because the money laundering activities facilitated by such laws played

a “critical” role in the “financing of global terrorism and the provision of funds for terrorist attacks,”

id. at § 302(a)(2). Denying the enforceability of subpoenas under § 5318(k) out of solicitousness

for such laws would thus defy the explicit purpose of the statute.

        Finally, since it is directed only to a foreign bank with domestic ties limited to correspondent

relationships with “covered financial institutions” in the United States, the enforcement of the

subpoena here does not implicate the same specter of direct “sanctions,” Sealed Case, 825 F.2d at

498, compelling a violation of foreign law. The only jeopardy the Bank complains of is the loss of

correspondent relationships with “covered financial institutions” in the United States, which is a

business opportunity the Bank is free to forgo. See Bank of Nova Scotia II, 740 F.2d at 828

(rejecting argument that “it is unfair to require the Bank to be put in the position of having to choose

between the conflicting commands of foreign sovereigns,” noting that “such occasions will arise and

a bank indeed will have to choose”).

        It bears emphasis in this context that permitting the Bank to shield its correspondent

relationships with U.S. banks by recourse to foreign law would, in effect, limit the regulation of the

Bank’s operations within the jurisdiction of the United States pursuant to the very sort of privacy

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protections that Congress expressly decried in enacting this statute. Such an outcome is self-

evidently untenable. In short, Saudi laws against disclosure in this context cannot prevent the

operation of § 5318(k), and the subpoena issued thereunder is readily enforceable notwithstanding

Saudi law.

IV.    Conclusion

       For the foregoing reasons, the United States moves this Court to order the Bank to produce

the documents described in the subpoena issued by the undersigned Acting United States Attorney

on July 17, 2009.


       Dated: February 1, 2010

       Portland, Oregon


                                            Respectfully submitted,

                                            KENT S. ROBINSON
                                            Acting United States Attorney


                                            s/ Charles F. Gorder, Jr.
                                            CHARLES F. GORDER, JR.
                                            CHRISTOPHER L. CARDANI
                                            RYAN W. BOUNDS
                                            Assistant United States Attorneys




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